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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

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      (Admitted pro hac vice)

      A TTORNEYS FOR DEBTOR
      In re:                                                          Chapter 11

      LTL MANAGEMENT LLC,1                                            Case No.: 21-30589 (MBK)
                                  Debtor.



                       DECLARATION OF ORDINARY COURSE PROFESSIONAL
                                      SCHWABE, WILLIAMSON & WYATT

               The undersigned hereby declares, under penalty of perjury, as follows:
                        1.       I am a member, partner or similar representative of the following firm

     (the “Firm”), which maintains offices at the address and phone number listed below:




               The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
               501 George Street, New Brunswick, New Jersey 08933.



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     Firm: Schwabe, Williamson & Wyatt, 1211 SW Fifth Avenue, Suite 1900, Portland, OR 97204,

     503-222-9981.

                     2.      This Declaration is submitted in connection with an order of the

     United States Bankruptcy Court for the District of New Jersey authorizing LTL Management

     LLC (the “Debtor”) to retain certain professionals in the ordinary course of business during
     the pendency of the Debtor’s chapter 11 case [Dkt. 849] (the “Order”). Following the date that

     the Debtor’s chapter 11 case was commenced (the “Petition Date”), the Debtor has requested that

     the Firm provide professional services (or continue to provide such services) to the Debtor, and

     the Firm has agreed to provide such services. Accordingly, the Firm is submitting this

     Declaration pursuant to the Order.
                     3.     The Firm, through me, and other members, partners, associates or
     employees of the Firm, has provided, or plans to provide, the following services to the Debtor

     from and after the Petition Date: litigation advice and services related to pending personal injury
     claims arising from the alleged use of talc-containing products manufactured, distributed,

     marketed, and/or sold by the Debtor.
                     4.     The Firm may have performed services in the past and may perform
     services in the future, in matters unrelated to this chapter 11 case, for persons that are parties-in-
     interest in the Debtor’s chapter 11 case. As part of its customary practice, the Firm is retained in

     cases, proceedings, and transactions involving many different parties, some of whom may

     represent or be claimants or employees of the Debtor, or other parties-in-interest in this
     chapter 11 case. To the best of my knowledge, information, and belief, formed after due inquiry,
     the Firm does not perform services for any such person in connection with this chapter 11 case.

     In addition, the Firm does not have any relationship with any such person, such person’s
     attorneys, or such person’s accountants that would be adverse to the Debtor or its estate with

     respect to the matters on which the Firm is to be retained.




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                     5.       To the best of my knowledge, information and belief, formed after due
     inquiry, the Firm does not represent or hold an interest adverse to the Debtor or its estate with

     respect to the matter(s) on which the Firm is to be retained and employed.
                     6.       The Firm believes that it is owed approximately $30,495.00 on account of
     services rendered and expenses incurred prior to the Petition Date in connection with the Firm’s

     employment by the Debtor.2
                     7.       The Firm further states that it has not shared, has not agreed to share nor
     will agree to share, any compensation received in connection with this chapter 11 case with any

     party or person, although such compensation may be shared with any member or partner of, or

     any person employed by, the Firm.
                     8.       As of the Petition Date, which was the date on which the Debtor
     commenced this chapter 11 case, the Firm was not party to an agreement for indemnification
     with the Debtor.
                     9.       If, at any time during its employment by the Debtor, the Firm discovers
     any facts bearing on the matters described herein, the Firm will supplement the information

     contained in this Declaration.




            This amount remains outstanding as of the Petition Date for work performed on behalf of Johnson &
            Johnson and the Debtor’s predecessor, Johnson & Johnson Consumer, Inc., with respect to personal injury
            claims asserted against Johnson & Johnson and Johnson & Johnson Consumer, Inc., and now the Debtor,
            arising from the alleged use of certain talc-containing products. The Firm has billed those fees and expenses
            to Johnson & Johnson, consistent with the terms of its engagement with Johnson & Johnson.



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            Pursuant to 28 U.S.C. §1746,1 declare under penalty of perjury under the laws of the

     United States of America that the foregoing is true and correct, and that this Declaration was

     executed on March 30, 2022, at Portland, Oregon.

                                                  Respectfully submitted,

                                                  SCHWABE, WILLIAMSON & WYATT, P.C.



                                                  By:
                                                          Andrew J. Lee, OSB #023646



                                                                              r..,—   OFFICIAL STAMP
                                                                              ELIZABETH SORENSEN MORROW
                                                                                 NOTARY PUBUC-OREGON
                                                                                 COMMISSION NO. 973872
                                                                            MY COMMISSION EXPIRES APRII 1R 2022




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